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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ALABAMA

JEFFREY A. PLANCHARD, M.D. )
)
Plaintiff, )
) .
v. ) CASE NO.:
)
USA HEALTHCARE MANAGEMENT, ) JURY DEMAND
LLC, and USA HEALTH, )
Defendants. )
)
COMPLAINT

COMES NOW JEFFREY A. PLANCHARD, M.D., by and through his
attorneys Deborah A. Mann and Christine Hernandez of the Hernandez &

Associates Firm, LLC, and hereby complains against Defendants USA

HEALTHCARE MANAGEMENT, LLC and USA HEALTH as follows:

NATURE OF THE CASE

This is an action to recover damages under 42 U.S.C. §§ 2000e et. seq. (Title
VID and 42 U.S.C. § 1981 for race and religious discrimination suffered by
Plaintiff while employed by Defendants, which ultimately led to his wrongful
termination and “black-balling” in the local medical community and for various

state remedies arising therefrom.

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PARTIES

1. Plaintiff JEFFREY A. PLANCHARD, MLD. is a citizen of Alabama and
lives in Mobile, Alabama. Prior to the wrongful termination of his
employment, Plaintiff worked as an anesthesiologist for Defendants USA
HEALTHCARE MANAGEMENT, LUC and USA HEALTH.

2. Defendant USA HEALTHCARE MANAGEMENT, LLC is an affiliate and
integral part of the University of South Alabama, created exclusively to
support the educational, research and clinical functions of the University of
South Alabama in service to its academic medical school and its hospitals
and clinics and is principally located and doing business in Mobile,
Alabama. Plaintiff is informed and believes Defendant employs in excess of
500 people.

3. Defendant USA HEALTH operates for the purpose of promoting the public
health mission of the University of South Alabama, which includes owning
and operating medical clinics and other healthcare facilities, including the
University Hospital, providing inpatient and outpatient care for patients in
need of professional medical care and is principally located and doing
business in Mobile, Alabama. Plaintiff is informed and believes Defendant

employs in excess of 500 people.

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JURISDICTION AND VENUE

4. This action to redress the deprivation of Plaintiffs civil rights arises under
the laws of the United States, specifically 42 U.S.C. § 2000e, et. seq. and 42
U.S.C. § 1981. This court has jurisdiction to hear the subject matter of this
case pursuant to 28 U.S.C. §§ 1331 and 1343.

5. This court has federal supplemental jurisdiction to hear the subject matter of
the included state law claims which are part of the same case or controversy
and arise from the same facts, or involve similar occurrences, witnesses or
evidence pursuant to 28 U.S.C. § 1367.

6. The events described in this action predominantly occurred in Mobile,
Alabama. This court is the proper venue for this action pursuant to 28
U.S.C. § 1391(b).

FACTS SUPPORTING CLAIMS

7. Plaintiff JEFFREY PLANCHARD, MLD. (“Dr. PLANCHARD”) is
genetically part of an “ethnically and physiognomically distinctive
subgrouping of homo sapiens” in that he was born a Jew to a 100% Jewish

mother, was raised in the Jewish faith and identifies as a Hebrew.

8. Dr. PLANCHARD is a highly skilled Anesthesiologist.

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9, In addition to working full time as an anesthesiologist at Springhill Hospital
in 2020, Dr. PLANCHARD also worked as a traveling LocumsTenes.com
anesthesiologist during his time off.

10. Taylor Young of LocumTenes.com presented Dr. PLANCHARD’s CV to
Defendants on or about December 3, 2020, as a potential anesthesiologist
locum tenens candidate.

11. In December of 2020, Defendants did not have a sufficient number of
anesthesiologists on staff at USA Hospital.

12. Locum tenens anesthesiologists cost hospitals more money than full time
hospital staff anesthesiologists.

13. On or about December 3, 2020, Defendants, though their agent Andrew
Price, Administrator with USA Health, began recruiting Dr. PLANCHARD
on behalf of Defendants for a full-time staff anesthesiologist position at USA
Hospital.

14. As an inducement for Dr. PLANCHARD to accept employment with
Defendants USA HEALTHCARE MANAGEMENT, LLC, (“USA
HEALTHCARE”) and USA HEALTH, Defendants suggested Dr.
PLANCHARD could restart the long dormant Anesthesiology Residency

program at USA.

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15. On or about December 3, 2020, Plaintiff Dr. PLANCHARD spoke on the
telephone with USA Hospital chief of anesthesiology D. Wade Hutchens,
M.D. for over an hour about the prospect of Plaintiff joining Defendants’
anesthesiology team.

16. During their hour-long telephone call, Dr. Hutchens seemed genuinely
enthusiastic about Plaintiff joining the anesthesiology team at USA Hospital.

17. During their lengthy telephone conversation, Defendants’ agent Dr.
Hutchens agreed that USA Hospital needed a residency program and that he
would be happy to help Plaintiff start one if he joined the USA Hospital
anesthesiology staff.

18. During this same telephone conversation, Dr. Hutchens stated he believed
Plaintiff Dr. PLANCHARD would be a great fit for USA Hospital.

19. On or about December 4, 2020, Defendants’ agent Mr. Andrew Price called
Plaintiff to confirm that he spoke with Dr. Hutchens and to set up an in-
person meeting/interview for Plaintiff with Dr. Chang, Defendants’ Chief
Medical Officer for December 9, 2020.

20. On or about December 9, 2020, Plaintiff met with and interviewed with Dr.
Chang for approximately 2 hours and 50 minutes. Andrew Price,
Administrator for Defendants, D. Wade Hutchens, Chief Anesthesiologist

and Dr. Kai Rodning, M.D. were also present.

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21. At the end of his interview on December 9, 2020, Mr. Andrew Price told
Plaintiff Dr. PLANCHARD as they walked out to expect a contract offer
“prior to the holidays.”

22. During his interview on or about December 9, 2020, Plaintiff Dr.
PLANCHARD wore a Star of David necklace, signifying his Jewish faith, as
he does on all formal occasions.

23. Throughout his interview the Star of David necklace was open, obvious
and readily visible to all present at the interview meeting on December 9,
2020.

24. Although Dr. Hutchens, Chief Anesthesiologist, had previously been
cordial, jovial and friendly towards Plaintiff Dr. PLANCHARD, his entire
attitude toward Plaintiff shifted after observing the Star of David necklace at
the in-person interview and discovering Plaintiff was Jewish.

25. Immediately upon discovering that Plaintiff Dr. PLANCHARD was
Jewish, Chief Anesthesiologist Dr. Hutchens became standoffish and barely
spoke a word to Plaintiff.

26. Defendants failed to offer Plaintiff a contract by the holidays as

represented.

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27. Plaintiff is informed and believes Defendants needed to expand their
anesthesiology staff at U.S.A. Hospital in December, 2020 and January,
2021.

28. Plaintiff is likewise informed and believes there is a shortage of
anesthesiologists in the Mobile, Alabama area.

29. Finally, after several inquiries by Plaintiff Dr. PLANCHARD, in January
2021, Defendants offered Plaintiff a two-month Locum Tenens position at
U.S.A. Hospital at the insistence of Dr. Hutchens, rather than the long-term,
full-time contract discussed at his interview.

30. During the delay in receiving the promised offer from U.S.A. Hospital,
Plaintiff scheduled out of town Locum Tenens work in February and March
of 2021.

31. In January of 2021, Chief Anesthesiologist Dr. Hutchens presented Plaintiff
Dr. PLANCHARD with an offer letter and a draft contract indicating the
contract would be effective for permanent employment after the successful
completion of the Locums Tenens assignment with U.S.A. Hospital to the
satisfaction of the “Department of Anesthesiology,” a legally non-existent

entity.

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32. The parties eventually agreed Dr. PLANCHARD would work as a Locums
Tenens anesthesiologist but would be employed full time upon signing his
contract.

33. On February 1, 2021, Dr. PLANCHARD started work at U.S.A. Hospital
and was immediately subjected to a hostile workplace because he was
Jewish.

34. On February 1, 2021, Plaintiff Dr. PLANCHARD arrived one hour early to
work to meet up with his direct supervisor, Dr. Hutchens, and obtain a tour
of the facility.

35. Upon seeing Plaintiff, Dr. Hutchens instructed Dr. PLANCHARD to “only
document standard work hours, as overtime was discouraged” and “not all of
us are about the money.” The stereotypical Jew is only “about the money.”

36. When Plaintiff Dr. PLANCHARD specifically asked for assistance with
the computer system, Dr. Hutchens, Plaintiff's direct supervisor, responded
with grunts, declined to assist Dr. PLANCHARD and left the room.

37. Medical Director Dr. Kai Rodning assisted Dr. PLANCHARD with the
instruction and implementation of the computer system education and
training needed for the job when Dr. Hutchens refused to do it.

38. At all times Dr. Hutchens was openly and publicly rude, condescending

and intentionally abrasive toward Plaintiff with Defendants’ acquiescence.

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39. Plaintiff's direct supervisor Dr. Hutchens continually rebuffed Plaintiff
creating an ongoing hostile workplace simply because Plaintiff was Jewish.
For example, when Plaintiff Dr. PLANCHARD would join Dr. Hutchens in
the lounge at lunch, Dr. Hutchens would disengage from conversation at
Plaintiff's arrival and would move to a separate table in the room and eat
elsewhere.

40. One time when Dr. PLANCHARD was sharing his 23 and Me Jewish
Ancestry DNA information with Dr. Rodgrigo, Dr. Hutchens interrupted the
conversation appearing visibly disgusted and ordered Plaintiff Dr.
PLANCHARD to report to the OR and start an anesthetic on a case.

41. Dr. Hutchens’ directive was ultimately determined to be about a case that
had already begun with another anesthesiologist.

42. Plaintiff was not needed nor assigned to this case, which had already been
going for approximately 30 minutes.

43. On or about February 15, 2021, Plaintiff Dr. PLANCHARD overheard his
supervisor Dr. Hutchens and CRNA Chuck Musselwhite loudly discussing
Dr. PLANCHARD’s employment status.

44. Dr. Hutchens informed the CRNA that Mr. Andrew Price, Defendants’
administrator, told Dr. Hutchens that U.S.A. Hospital was going to hire

Plaintiff “so long as he wasn’t an unmitigated disaster.”

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45. Plaintiffs supervisor Dr. Hutchens, who was close to retirement age at the
time, followed up his first comment by loudly stating that this was “an
awfully low bar for the KIKE they hire to replace me.”

46. “KIKE” is a derogatory and humiliating term for a Jewish person.

47. Although Plaintiff felt humiliated being publicly labeled a “KIKE” by his
supervisor to a co-worker for anyone near to hear, Dr. Hutchens and CRNA
Chuck Musselwhite found humor in the derogatory commentary about
Plaintiff Dr. PLANCHARD’s race and religion.

48. On another occasion, Plaintiff remarked that a pre-op patient was so thin
she looked like she had just escaped from a concentration camp. CRNA
Mike Tomlinson, who knew Plaintiff was Jewish asked, “Why? Does she
have a big nose?”

49. Negative stereotypes of Jews portray them with oversized noses.

50. CRNA Mike Tomlinson, with Defendants’ acquiescence repeatedly
mocked Plaintiff Dr. PLANCHARD telling him he only made it to medical
school because he “inherited Jew gold.”

51. Another U.S.A. Hospital anesthesiologist Dr. Aston Archibald, often

derided Plaintiff and his accomplishments merely because he was Jewish.

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52. For example, in February of 2021, Dr. Archibald told Dr. PLANCHARD
“Your people have had incredible success in our country despite being few
in number. Jews look out for each other and make sure you all get a leg up.”

53. Dr. Archibald later told a group of doctors and CRNA’s in front of
Plaintiff, that the Italian mafia “never killed their own, that’s the movies.
They’d hire Jews as their assassins. Look it up. Jews are some of the most
cold-blooded killers around.”

54. Suggesting that an anesthesiologist, a doctor that literally bears
responsibility for the life of a patient during surgery, belongs to a group of
“cold-blooded killers” is insulting and horrifying.

55. Plaintiff Dr. PLANCHARD felt humiliated when one of his coworkers
suggested he belonged to a group of cold-blooded killers.

56. Dr. Hutchens, Plaintiff's direct supervisor, regularly undermined Dr.
PLANCHARD’s decision making and negatively commented on his
employment for no reason other than his religion and race/ethnicity.

57. Throughout the month of February, Plaintiff asked Mr. Price about the
status of the permanent contract. Each time, Mr. Price deferred to the
judgment of Dr. Hutchens, who said he wanted every faculty member to
meet Dr. PLANCHARD, despite that Dr. Hutchens’ requirement was not

normal procedure.

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58. Despite stating that he wanted Plaintiff to meet the other faculty members,
Dr. Hutchens declined to assist in introductions and continually made
inappropriate antisemitic and other disparaging comments to and about Dr.
PLANCHARD.

59. In February of 2021, in an effort to understand the delay with his
permanent contract, Plaintiff asked Mr. Andrew Price if there had been any
negative feedback received from the faculty, to which Mr. Price responded
“none.”

60. When Plaintiff then asked Mr. Price why his employment had to be
unanimous, Mr. Price inquired if Dr. PLANCHARD felt discriminated
against.

61. Although Dr. PLANCHARD did believe he was being discriminated
against, he believed a positive response would have a negative impact on his
employment so he instead sidestepped the question and merely inquired
about the delay.

62. Defendants at all times ratified the discriminatory treatment of Plaintiff Dr.
PLANCHARD which they knew or should have known about.

63. After Dr. Saroj Shah, the only Indian member of the Anesthesiology
division at U.S.A. Hospital, had to leave the country for several weeks due

to a death in the family, Plaintiff was assigned to cover Dr. Shah’s usual role

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as anesthesiologist for outpatient endoscopy two floors up from the rest of
the ORs, which was akin to exile and intended to demean Plaintiff to the
staff.

64. Dr. Hutchens remarked that Dr. Shah had been assigned outpatient
endoscopy because “she was not qualified to cover anything more difficult.”

65. Dr. Hutchens suggested Dr. PLANCHARD, who trained at the prestigious
Cleveland Clinic, was no more qualified than he believed Dr. Shah to be,
despite that Plaintiff was the only member of the staff certified in
echocardiography, and the only main campus physician so trained.

66. On or about February 28, 2021, when Plaintiff approached Dr. Hutchens to
work out the details of leaving for his pre-existing and higher paying
Weatherby short term employment commitment during the last two weeks of
March, Dr. Hutchens immediately offered Plaintiff his permanent contract
and made it effective as of the same date.

67. Mtr. Price agreed to the permanent contract but insisted that it would be
given in exchange for Plaintiff canceling the March Weatherby assignment
knowing Plaintiff did not have the minimum 30 days required to cancel.

68. In reliance on the offer of permanent employment and believing he had no

other option, Plaintiff Dr. PLANCHARD canceled the other Weatherby

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assignment without the required 30 days’ notice, which negatively impacted
his relationship with the other hospital.

69. The parties entered into an employment contract which by its terms became
effective on February 28, 2021.

70. Paragraph 5.2 of the contract provided terms under which Defendants could
immediately terminate Plaintiff, notice of which would be given in writing.

71. Terms pertaining to immediate termination involved egregious conduct by
the physician such license loss or loss of ability to work with private and
government insurance systems.

72. Termination for cause, pursuant to paragraph 5.3 of the contract, required
written notice of intent to terminate citing the grounds therefor and required
a reasonable period of time to remediate the “cause”, not to exceed 30 days.

73. Defendants reserved the right to terminate Plaintiff Dr. PLANCHARD
without cause upon at least ninety days advance written notice in paragraph
5.4.

74, Paragraph 5.5 of the contract provided any termination of Plaintiff would
be done in consultation with the Supervisor and the Chief Medical Officer
(Dr. Chang).

75. A short time after executing his permanent contract in February of 2021,

Plaintiff had the opportunity to converse with Dr. Joseph Rodrigo, one of the

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anesthesiologists at U.S.A. Hospital who had been a medical director in
South Carolina.

76. Dr. PLANCHARD asked if Dr. Rodrigo had ever had to fire anyone. Dr.
Rodrigo replied only once. Plaintiff asked if it was “drugs” but Dr. Rodrigo
responded, “Oh no, not that. He was a great clinician. It’s just his
personality. He was argumentative, loud, neurotic. He was a J ewish puy.
You know how they can be. Well, no one liked him, and administration was
looking for a reason.”

77. Upon hearing Dr. Rodrigo’s comment, Plaintiff began to understand the
extent to which antisemitism pervaded the U.S.A. Hospital system.

78. During his entire tenure with U.S.A. Hospital, Plaintiff Dr. PLANCHARD
received only positive feedback.

79. On or about March 24, 2021, Plaintiff received a telephone call offering
him the chance to interview for a position at Providence Hospital with a
minimum starting salary of $420,000.

80. Plaintiff Dr. PLANCHARD declined to interview because he was under
contract with and committed to his job with Defendants.

81. On or about March 26, 2021, Mr. Price told Dr. PLANCHARD verbally
during a telephone call that he could cancel his Marketplace health insurance

as his full-time benefits would start April 1, 2021.

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82. During that same telephone call on March 26, 2021, Mr. Price told Plaintiff
he had received no negative feedback or complaints from staff about Dr.
PLANCHARD.

83. In response to an email, on March 26, 2021, Mr. Andrew Price told
Plaintiff that although it was too late for 2021, Defendants would put
Plaintiff on the list to pay Dr. PLANCHARD’s Society dues “for next year.”

84. Based on the given feedback, Plaintiff felt comfortable enough on March
29, 2021, to ask Mr. Andrew Price for proof of income for a mortgage
application.

85. The very next day on March 30, 2021, Mr. Price, Director of Anesthesia,
summoned Plaintiff Dr. PLANCHARD to his office.

86. Dr. Wade Hutchens was present in Mr. Price’s office when Plaintiff
arrived.

87. Despite being scheduled to work full time hours throughout the month of
April, Dr. Hutchens and Mr. Price informed Plaintiff that day, March 30,
2021, would be his last day and they immediately collected his badge.

88. Dr. Hutchens and Mr. Price then simply stated Plaintiff Dr. PLANCHARD

was a “poor fit for the hospital.”

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89. Dr. Hutchens and Mr. Price failed to comply with the terms of Plaintiff's
contract which required any termination without cause to be in writing with
90 days’ notice.

90. Plaintiffs contract further required that CMO Dr. Chang be consulted
about any termination.

91. When Plaintiff Dr. PLANCHARD inquired as to whom Dr. Hutchens and
Mr. Price had consulted about his termination, Dr. Hutchens responded,
“those people in Administration who make such decisions.”

92. When Plaintiff inquired whether Dr. Chang had been consulted, Dr.
Hutchens replied, laughing, “You’re welcome to call him.”

93. When Plaintiff later contacted Dr. Chang, Dr. Chang confirmed he had not
been consulted as he was out of town due to a death in the family.

94. Failure to confer with Dr. Chang about termination was a violation of
hospital procedure and Plaintiffs contract.

95. Plaintiff was so shocked, upset and caught off guard by the treatment and
lack of professionalism of these two superiors that he began to cry, stating
he had a family to support and they needed the benefits he had been told to
cancel just days before in reliance upon Mr. Price’s promise that his U.S.A.

Heath benefits would start April 1, 2021.

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96. Dr. Hutchens openly mocked and ridiculed Plaintiff Dr. PLANCHARD
pointing at Plaintiff while looking at Mr. Price and laughing, stating, “Be an
adult!” and “Look at him, Andy, he has no insight at all!”

97. Atall times relevant thereto, Mr. Price, Director of Anesthesiology and
Administrator for Defendants condoned Dr. Hutchens’ conduct.

98. “Insight” is a term used in psychiatry for knowledge of one’s condition.

99, Dr. Hutchens used the term “insight” in a derogatory manner directed
toward Plaintiff, laughing, demonstrating the intent to demean and humiliate
Plaintiff Dr. PLANCHARD.

100. When Plaintiff asked what he meant by insight, Dr. Hutchens
responded that “no one in this hospital has a positive opinion of you,”
despite that Plaintiff has childhood friends and colleagues who work in the
hospital who remain friendly.

101. Dr. Hutchens’ comment directly contradicted the feedback Plaintiff
had previously received from Mr. Price.

102. Dr. Hutchens further stated, without rational basis, that he couldn’t
trust Plaintiff Dr. PLANCHARD to take calls by himself at night despite that
no incidents related to Plaintiff's medical judgment had been mentioned.

103. At this point in time, no statements, incidents or error, or any other

communications were made to Plaintiff Dr. PLANCHARD in regard to any

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issue related to his performance, there had been no performance review,
there had been no write up, there had been no negative reports of which Dr
PLANCHARD had been made aware throughout either Plaintiff's temporary
period or after he accepted his permanent contract.

104. Dr. Hutchens’ comments were so outlandish considering Plaintiff is
a Board-Certified Anesthesiologist who had taken night call every five days
during his prior three years at Springhill Hospital and had trained at the
Cleveland Clinic without issue.

105. At all times Plaintiff believed Dr. Hutchens could only have intended
his comments, which contradicted everything Plaintiff had been told to date,
as public insults.

106. Throughout the March 30, 2021, meeting, Dr. Hutchens, with the
approval of Mr. Price, continued to laugh at and mock Dr. PLANCHARD’s
tears and Plaintiff’s goal to restart the residency program.

107. After being outrageously mocked and humiliated, Plaintiff was told
the meeting was over and while he prepared to leave, apparently not quickly
enough, Dr. Hutchens continued to laugh and mock stating, “I’d hate to have

to call security.”

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108. Believing his treatment to be the product of racial and religious
discrimination, especially from his direct supervisor Dr. Hutchens, Plaintiff
Dr. PLANCHARD wrestled with the idea of making a report.

109. At all times Plaintiff suspected reporting the discrimination he had
faced would be futile since Dr. Hutchens seemed to talk for Defendants and
attended every meeting involving Dr. PLANCHARD.

110. Plaintiff finally overcame the intimidation he felt and on March 31,
2021, Dr. PLANCHARD told Mr. Price that he had been a victim of
widespread discrimination.

111. While Mr. Price indicated Defendants took complaints of
discrimination seriously, rather than making an effort to investigate, Mr.
Price said he would set up a meeting, which would include Defendants’
attorney.

112. Believing he should not attend any meetings with Defendants’ counsel
present unless he was also represented, Dr. PLANCHARD declined to
attend,

113. On or about April 1, 2021, Mr. Price verbally confirmed to Plaintiff
Dr. PLANCHARD that he was going to be terminated without cause as a

“poor fit”.

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114. In response, Dr. PLANCHARD requested the written 90-day notice
guaranteed by his employment contract which had an effective date of
February 28, 2021.

115. In retaliation for Plaintiff opposing Defendants’ unlawful
employment practice, i.e. discrimination, complaining about discrimination
to Mr. Price and requesting Defendants follow their own procedure and
Plaintiff's rights pursuant to his contract, Defendants made false and
defamatory statements about Plaintiff.

116. Defendants falsely accused Plaintiff of being bipolar,.

117. Defendants told Paul Hude, a CRNA who had worked with Dr.
PLANCHARD at both Springhill Hospital and at U.S.A. Hospital and who
had been out of town when Defendants terminated Plaintiff that Plaintiff was
bipolar as justification for terminating him.

118. Defendants falsely reported to Adam Mason, DO, an anesthesiologist
at Mobile Infirmary and Plaintiff's former supervisor at Springhill that Dr.
PLANCHARD was removed from U.S.A. Hospital by security.

119. Most damaging of all, Defendants sent out false and defamatory
letters to the three companies that collectively held Dr. PLANCHARD’s

hospital privileges elsewhere.

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120. LocumTenens.com, the agency that was paying but not employing
Dr. PLANCHARD on March 30, 2021, was falsely informed, among other
false accusations, that Plaintiff had given blood to a Jehovah’s Witness
patient.

121. Plaintiff is informed and believes Defendants sent similar letters to
CHG Healthcare, CompHealth and Weatherby Locums.

122. None of these companies have worked with Dr. PLANCHARD since
receiving Defendants’ false and defamatory letters.

123. Further, Plaintiff was left with no hospital privileges anywhere,
inhibiting his ability to earn a living.

124. After being summarily dismissed and without hospital privileges,
Plaintiff was forced to “scramble” to find short term, temporary work while
he searched for permanent employment.

125, Plaintiff is informed and believes Defendants have engaged in other
defamatory and slanderous communications, in effect “black-balling” Dr.
PLANCHARD in the local and regional areas.

126. Despite the Mobile and surrounding areas having a shortage of
anesthesiologists, Plaintiff was unable to secure another position locally

despite months of earnest searching.

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127. Plaintiff is informed and believes Defendants continued to disparage
Plaintiff's character and refused to provide references or other customary
information in order to sabotage his ability to find employment, verbally
slandering Plaintiff to hospitals in Fairhope, Al, Biloxi, MS and Pensacola,
FL, among others.

128. At all times related hereto, Defendants continued to discriminate and
retaliate against Plaintiff Dr. PLANCHARD by providing false information
to prospective employers or refusing to offer information needed for purpose
of credentialling because he is Jewish and because he complained about
discrimination by Defendants.

129. In fact, Plaintiff had to apply to hospitals more than 150 miles away
in order to secure a full time employment contract for January of 2022.

130. Defendants fabricated a pretextual basis for terminating Plaintiff after
the fact.

131. On April 16, 2021, Defendants sent Plaintiff Dr. PLANCHARD a
written letter of termination for cause effective that same date, i.e. April 16,
2021.

132. The pretextual and fabricated bases for termination contrived by
Defendants were: (a) A complaint from a pediatric patient’s parent about

the treatment of her autistic child. Dr. PLANCHARD’s name did not appear

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in the complaint which only listed two anesthesiologists, one “good” and
one “bad.” Dr. PLANCHARD saw the complaint but did not remember the
patient. In a text exchange describing the complaint, Mr. Price called it “no
big deal.” (b) Supposed complaints from a nurse in the GI department
which were never brought to Dr. PLANCHARD’s attention and have yet to
be produced. (c) Supposed deficiencies in charting. However, on March
29, 2021, Plaintiff had gone over all of his charts with the medical director,
Dr. Kai Rodning, who replied, via text that with regard to the matter,
everything was “copacetic.” (d) A deliberate misrepresentation of an
interaction with the aforementioned Jehovah’s Witness patient. Despite
signing a form in the pre-op area refusing blood, she mentioned to Plaintiff,
prior to being anesthetized, that she did not understand the term “anemia.”
When Dr. PLANCHARD explained the word meant a dangerously low
blood count, the patient changed her mind and said she would accept blood.
It then became Dr. PLANCHARD’s legal responsibility to cause the consent
to be updated and the patient’s wishes addressed. Dr. Hutchens inserted
himself into the situation and took over the case. He stated that since little
blood loss was expected, changing the blood consent was unnecessary.
Plaintiff deferred to Dr. Hutchens, his direct supervisor. Ultimately, no

blood was necessary nor given. However, in its termination letter, USA

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accused Dr. PLANCHARD of going against a patient’s wishes for receiving
blood, the exact opposite of the truth.

133. Pursuant to Defendants’ own policy and pursuant to the contract
between the parties, Plaintiff Dr. PLANCHARD should have been offered a
remediation period before being terminated for cause.

134, Defendants never offered Plaintiff the required remediation period nor
were any of the pretextual bases for termination discussed with Dr.
PLANCHARD prior to the series of policy, procedure and contract defying
terminations to which Defendants subjected Plaintiff.

135. Plaintiff Dr. PLANCHARD is informed and believes Defendants have
replaced Plaintiff with an anesthesiologist who is not Jewish, i.e. who is
outside of Plaintiffs protected class.

136. As a direct and proximate result of the actions of Defendants and their
agents, Plaintiff has suffered financial loss as well as damage related to
mental and emotional stress.

137. Plaintiff continued to face the stress and strain of constantly searching
and applying for short, temporary work opportunities, most of which
required him to leave his young family for weeks at a time, from April, 2021

through November, 2021.

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138. Plaintiff has been regularly consulting with a therapist to help him
work through the severe mental and emotional distress Dr. PLANCHARD

experienced as a result of Defendants’ treatment of him.

139. On or about September 20, 2021, Plaintiff Dr. PLANCHARD filed a
Charge of Discrimination with the Equal Employment Opportunity
Commission in Mobile, AL.

140. Plaintiff received a Dismissal and Notice of Rights from the Equal
Employment Opportunity Commission less than 90 days prior to the filing

of this complaint.

FEDERAL CAUSES OF ACTION

COUNT 1
RACE DISCRIMINATION

141. As the facts alleged in this Complaint show, Defendants
discriminated against Plaintiff because of his race in violation of 42 U.S.C. §
1981 and 42 U.S.C. §§ 20006, et seq.

142. The Plaintiff Dr. PLANCHARD is a racial minority in that he is was
born to an ethnically 100% Jewish mother and based upon his Jewish
upbringing, outwardly manifests his racial affiliation by donning, among
other things, a Star of David necklace such that Defendants knew that

Plaintiff was a member of a protected class.

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143. At all times related hereto, Plaintiff was a Board-certified
anesthesiologist who had trained at the prestigious Cleveland Clinic and as
such he was qualified for the employment Defendants recruited him for in
December of 2020, especially since according to Dr. Hutchens, Defendants
merely sought an anesthesiologist that wasn’t “an unmitigated disaster.”

144. Upon discovering he was Jewish, Defendants intentionally
discriminated against Plaintiff by, among other things, withholding the
employment contract Plaintiff was told to expect prior to the 2020 holidays
following his interview, requiring Plaintiff to meet more stringent criteria
than other similarly situated anesthesiologists faced before offering him a
permanent contract, including, but not limited to requiring unanimous
consent and working temporarily as a Locums Tenens employee, requiring
him to cancel pre-existing Locums Tenens commitments without sufficient
notice in order to receive his permanent contract and by failing to adhere to
Defendants’ own policies, procedures and contract obligations when
terminating Plaintiff.

145. Defendants further subjected Plaintiff to a hostile work environment
by publicly mocking and humiliating Plaintiff Dr. PLANCHARD and by
creating, tolerating and even ratifying anti-Semitic behavior by Plaintiff's

direct supervisors and co-workers such that the workplace became

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permeated with discriminatory intimidation, ridicule and insult that was
sufficiently severe or pervasive such as to alter the conditions of the
Plaintiff's employment and create an abusive working environment.

146. Plaintiff Dr. PLANCHARD suffered an adverse employment action
when he was fired without cause on March 30, 2021, which was confirmed
on or about April 1, 2021, and for cause on April 16, 2021, none of which
conformed to Defendants written policies and procedures nor the contract
between the parties.

147. At the time Plaintiff suffered this adverse employment action, it was
based upon racial discrimination, which was at a minimum, a motivating
factor and/or a but for cause for the adverse employment action.

148. Plaintiff was subsequently replaced by a person outside of his
protected class.

149. Additionally, Plaintiff was treated less favorably than similarly
situated non-Jewish anesthesiologists who were not made to work as
Locums Tenens employees prior to being presented with their permanent
contracts, who were not mocked for being Jewish, who were not forced to
cancel prior commitments upon insufficient notice in order to receive a
formal contract and who were not told to cancel their insurance 4 days prior

to being terminated because they would be receiving benefits imminently.

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150. Any bases claimed by Defendants’ for terminating Dr. PLANCHARD
are clearly pretextual in that Defendants failed to follow their own formal
policies, the articulated reasons for Plaintiff’s termination were first
presented to Plaintiff in a letter sent to Plaintiff 17 days after he was told he

was being terminated “without cause” and said reasons were false and hid

discrimination.
COUNT I
RELIGIOUS DISCRIMINATION
151. As the facts in this Complaint show, Defendants discriminated

against Plaintiff because of his religion in violation of 42 U.S.C. § 2000e, et
seq.

152. The Plaintiff Dr. PLANCHARD is Jewish, which religious faith is
protected pursuant to 42 U.S.C. § 2000e, et seq.

153. As part of his religious affiliation, Plaintiff Dr. PLANCHARD
outwardly manifests his faith by, among other things, wearing a Star of
David necklace at all formal occasions including his interview with
Defendants in December of 2020, such that Defendants knew that Plaintiff
was amember of a protected class.

154. At all times related hereto, Plaintiff was a Board-certified
anesthesiologist who had trained at the prestigious Cleveland Clinic and as

such he was qualified for the employment for which Defendants recruited

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him in December of 2020, especially since according to Dr. Hutchens,
Defendants merely sought an anesthesiologist that wasn’t “an unmitigated
disaster.”

155. Upon discovering he was Jewish, Defendants intentionally
discriminated against Plaintiff by, among other things, withholding the
employment contract Plaintiff was told to expect prior to the 2020 holidays
following his interview, requiring Plaintiff to meet more stringent criteria
than other similarly situated non-Jewish anesthesiologists faced before
offering him a permanent contract, including, but not limited to requiring
unanimous consent and working temporarily as a Locums Tenens employee,
requiring him to cancel a pre-existing Locums Tenens commitment without
sufficient notice in order to receive his permanent contract and by failing to
adhere to Defendants’ own policies, procedures and contract obligations
when terminating Plaintiff.

156. Defendants further subjected Plaintiff to a hostile work environment
by publicly mocking and humiliating Plaintiff Dr. PLANCHARD and by
creating, tolerating and even ratifying anti-Semitic behavior by Plaintiff's
direct supervisors and co-workers such that the workplace became

permeated with discriminatory intimidation, ridicule and insult that was

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sufficiently severe or pervasive such as to alter the conditions of the
Plaintiffs employment and create an abusive working environment.

157. Plaintiff Dr. PLANCHARD suffered an adverse employment action
when he was fired without cause on March 30, 2021, which was confirmed
on or about April 1, 2021, and for cause by letter dated April 16, 2021, no
instance of which conformed to Defendants written policies and procedures
nor the contract between the parties.

158. At the time Plaintiff suffered this adverse employment action, it was
based upon religious discrimination, which was at a minimum, a motivating
factor and/or a but for cause for the adverse employment action.

159, Plaintiff was subsequently replaced by a person outside of his
protected class.

160. Additionally, Plaintiff was treated less favorably than similarly
situated non-Jewish anesthesiologists who were not made to work as
Locums Tenens employees prior to being presented with their permanent
contracts, who were not mocked for being Jewish, who were not forced to
cancel prior commitments upon insufficient notice in order to receive a
formal contract and who were not told to cancel their alternative insurance 4
days prior to being terminated because they were promised that they would

be receiving benefits imminently.

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161. Defendants’ claimed bases for terminating Dr. PLANCHARD are
clearly pretextual in that Defendants failed to follow their own formal
policies, the articulated reasons for Plaintiffs termination were first
presented to Plaintiff in a letter sent to Plaintiff 17 days after he was told he

was being terminated “without cause” and said reasons were false and hid

discrimination.
COUNT III
RETALIATION
162. As the facts alleged in this Complaint show, Defendants retaliated

against Plaintiff because he verbally reported the pervasive discrimination he
faced while employed with Defendants to Mr. Price on April 1, 2021, and
because he demanded that Defendants’ policies and procedures, as well as
his contractual rights, be followed in a non-discriminatory fashion.

163. Immediately following Plaintiff’s complaint to Mr. Price and his
request that he be treated under Defendants’ policies, procedures and his
contract like his non-Jewish peers, Defendants engaged in a campaign of
defaming and slandering Plaintiff such that he was unable to secure
employment locally or even regionally.

164. Defendants “black-balled” Plaintiff in the local and regional medical
community such that he was unable to secure local employment following

his wrongful termination by Defendants.

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165. The timing of the events is circumstantial evidence that Defendants
sought to interfere with Plaintiff's employability in the community and
surrounding communities to retaliate against him or punish him for having
opposed their racist and religiously intolerant treatment of him.

166. Plaintiff's complaint of racial and religious discrimination and
opposition to discriminatory treatment constituted conduct protected under
federal anti-discrimination statues, which conduct caused, was a motivating
factor in and/or a but for cause of Defendants’ interference with Plaintiffs
ability to contract for employment following Defendants’ termination of
him.

167. Any reasons Defendants provide for the “black-balling” of Plaintiff is
a pretext or cover story and the real reason is retaliation and discrimination.

REQUESTS FOR RELIEF (FEDERAL)
For the reasons described in this Complaint, Plaintiff demands judgment
against Defendants and other specific relief including:

a. Declaratory judgment that the Defendants violated 42 U.S.C. § 1981 and 42
U.S.C. §§ 2000e, et seq.

b. Compensatory damages, including back pay and front pay.

c. Punitive and exemplary damages.

d. Attorneys’ fees and costs of suit.

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e. All other relief to which Plaintiff is entitled.

STATE CAUSES OF ACTION

COUNT IV
BREACH OF CONTRACT

168. As the facts alleged in this Complaint show, Defendants breached
their contract with Plaintiff Dr. PLANCHARD.

169. The parties entered into a contract titled, “Physician Employment
Agreement” with an effective date of February 28, 2021.

170. Pursuant to the contract terms, Plaintiff Dr. PLANCHARD could only
be terminated in writing, in consultation with Dr. Chang and upon very
specific notice and remediation terms.

171. At all times relevant hereto, Plaintiff performed all duties which he
was contractually bound to perform.

172. Defendants breached the contract with Plaintiff Dr. PLANCHARD in
several ways including, but not limited to: not adhering to the contractual
termination requirements specified in the parties’ contract, failing to consult
with Dr. Chang prior to terminating Plaintiff, and failing to act fairly and in

good faith in the parties’ contractual dealings.

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173. As a direct and proximate result of Defendants’ breach of the parties’
contract, Plaintiff has suffered foreseeable incidental and consequential
damages.

174. Defendants knew or should have known about the type and extent of
damages Plaintiff suffered as a result of their breach of the contract.

COUNT V
TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS
ADVANTAGE

175. As the facts alleged in this Complaint show, Defendants intentionally
caused numerous third parties not to enter into prospective contractual
relationships for employment with Plaintiff.

176. Defendants were aware of Plaintiff’s existing relationships with
Locums Tenens and other third-party medical employment contracting
agencies who contacted Defendants following Plaintiffs termination to
update their records for Plaintiff.

177. Defendants were likewise aware of medical establishments in the
local Alabama area, Florida and Mississippi with whom Plaintiff sought
employment following his wrongful termination by Defendants.

178. Defendants had knowledge that Plaintiff was attempting to secure
future employment as an Anesthesiologist with both the employment

contracting agencies and local medical establishments since many of these

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entities contacted Defendants for information as part of their normal and
customary hiring process.

179, At all times relevant hereto, Defendants intentionally sought to
“black-ball” Plaintiff by providing false, disparaging, and defamatory
information to these third parties designed to disrupt the prospective
employment relationships sought by Plaintiff Dr. PLANCHARD with said
third parties.

180. At all times relevant hereto, Defendants intentionally sought to further
“black-ball” Plaintiff in the local and regional medical communities by
refusing to provide requested information, withholding documents Plaintiff
needed for credentialing as well as references customarily provided in the
industry to prospective employers and/or provided negative references in
order to cause harm to Plaintiff's employability .

181. As a result of their acts, Defendants directly and proximately caused
economic harm and emotional distress and suffering to Plaintiff.

182. At all.times pertinent hereto, Defendants participated in, authorized
and/or ratified the acts of its employees and agents, which acts were done for
and/or in the line and scope of employment and/or for the Defendants’

benefit.

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COUNT VI
FRAUD

183. As the facts alleged in this Complaint show, Defendants fraudulently
induced Plaintiff to justifiably rely on promises and representations made by
Defendants who made said promises and representations knowing they were
false.

184. On or about March 29, 2021, Defendants through their agent Mr.
Price informed Plaintiff he could cancel his marketplace insurance because
he would have U.S.A. Hospital benefits beginning April 1, 2021, knowing
this representation was false as demonstrated by Mr. Price verbally
terminating Plaintiff the following day on March 30, 2021.

185. Plaintiff justifiably relied on Mr. Price’s representations about
insurance which directly and proximately caused Plaintiff to suffer economic
damages and emotional and mental stress necessitating mental health
intervention.

186. On or about February 28, 2021, Defendants through their agents Dr.
Hutchens and Mr. Price fraudulently represented, knowing this
representation to be false, to Plaintiff he would be provided long term

employment with Defendants so long as Plaintiff canceled his pre-existing

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obligation with Locums Tenens dot com despite Defendants’ knowledge
Plaintiff was outside of the 30 cancellation “window.”

187. Plaintiff justifiably relied on Dr. Hutchens’ and Mr. Price’s
representations which directly and proximately caused Plaintiff to suffer
economic damages and emotional and mental stress with resulting physical

damages.

COUNT VII
NEGLIGENT/WANTON HIRING/TRAINING/SUPERVISION

188. As the facts alleged in this Complaint show, Defendants negligently
and/or wantonly hired/trained and/or supervised Dr. Hutchens and/or Mr.
Price, as well as other hospital personnel, who were unfit to supervise other
medical professionals.

189. Dr. Hutchens and/or Mr. Price engaged in ongoing conduct
constituting torts against Plaintiff as recognized under Alabama law
including, but not limited to defamation, libel, slander as set forth in Count
VII and fraud as set forth in Count VI.

. 190. Dr. Hutchens and Mr. Price engaged in tortious conduct that was so
egregious and pervasive against Plaintiff and upon information and belief,
other minorities, that Defendant had actual and/or constructive notice or

should have known of their employee’s tortious conduct and failed to

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adequately respond to the notice and take adequate stops to remedy the
situation.

191. Defendants and U.S.A. in general are presently the subjects in an
investigation related to alleged inappropriate racial and ethnic disparaging
demonstrations as well as demeaning, racial, and sexual harassment from
numerous administrative members including University Presidents,
Department Chairs and most recently allegations against a Women’s Coach
for sexual harassment of players indicating a widespread and system wide
lack of proper training, hiring and supervision at U.S.A. and other Defendant

operated businesses and institutions.

COUNT VIII
DEFAMATION/LIBEL/SLANDER

192. As the facts alleged in this Complaint show, Defendants have
intentionally and or recklessly published false statements to third party
prospective employers including online employment companies including,
but not limited to Locums Tenens, Weatherby Healthcare and Global
Medical Staffing as well as numerous local and regional hospitals.

193. Said published statements were not opinions but purported to be facts

about Plaintiff pertaining to his employment which caused a “black-balling”

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of Plaintiff, preventing him from obtaining employment with these
institutions, resulting in economic, mental and emotional harm.

194, Said false representations purporting to be facts included, but are not
limited to claiming Plaintiff Dr. PLANCHARD was terminated while in the
employ of Locums Tenens rather than on April 16, 2021, the date of
termination in the only written notice provided to Plaintiff, providing bad
“word of mouth” about Plaintiff to prospective employers, claiming
complaints had been made about Plaintiff in complete contradiction of Mr.
Price’s statements to Plaintiff, claiming Plaintiff was “bipolar” and
otherwise disparaging Plaintiff’s fitness as a medical doctor and
anesthesiologist.

195. During his employment with Defendants, Defendants agents also
intentionally and/or recklessly made false and defamatory statements
purporting to be facts claiming Plaintiff was a “KIKE”, “only in it for the
money”, loud and obnoxious and other derogatory characteristics of the
negative, stereotypical Jewish person.

196. Plaintiff is informed and believes said false and defamatory
statements took place from the time he interviewed with Defendants on or

about December 9, 2020, through the present.

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197. As a direct and proximate result of Defendants false, defamatory
remarks, Plaintiff Dr. PLANCHARD has been denied employment
opportunities and has suffered ongoing economic, emotional and mental

damages.

COUNT Ix
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS/OUTRAGE

198. As the facts alleged in this Complaint show, Defendants have engaged
in conduct so outrageous in character, and so extreme in degree as to go
beyond all possible bounds of decency and to be regarded as atrocious and
utterly intolerable in a civilized society which conduct intentionally and/or
recklessly caused Plaintiff emotional distress so severe that no reasonable
person could be expected to endure it.

199, The Jewish people have long endured oppressive hatred and repeated
attempts at genocide through the ages such that discrimination against them
carries the weight of historical oppression.

200. At all times pertinent hereto extending over the course of many
months since December of 2020, Defendants have engaged in a pattern of
activity involving a great many persons including co-workers, supervisors
and the varied individuals who have attempted to “black-ball” Plaintiff in the

local and regional community.

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201, As a direct result of the long history of vile discrimination, hatred and
genocide attempts directed toward the Jewish people in conjunction with the
pervasive pattern of discrimination and oppression directed toward Plaintiff,
Defendants should have known Dr. PLANCHARD was likely to suffer
extremely serious repercussions and emotional/mental distress as a result of
their outrageous conduct.

202. At all times relevant hereto, the outrageous actions directed toward
the Plaintiff were directed toward an illegal purpose, discrimination based on
race and religion, which is prohibited by Title VII and § 1981 of the Civil
Rights Act.

203. Defendants’ extreme and outrageous discriminatory conduct has
continued beyond Plaintiffs employment with Defendants such that Dr.
PLANCHARD has not been able to find relief from it and which has forced
him to seek employment away from Mobile, his home.

204. In addition to economic damages, Plaintiff has incurred substantial
medical costs as a result of Defendants’ outrageous conduct.

205. The toll of the stress and strain to Plaintiff proximately caused by
Defendants’ extreme and outrageous conduct has forced Plaintiff into
therapy and has required Plaintiff to seek ongoing mental health

intervention.

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REQUESTS FOR RELIEF (STATE)
For the reasons described in this Complaint, Plaintiff demands judgment
against Defendants and other specific relief including:
a. Compensatory damages, including compensation for economic loss and
mental and emotional distress.
b. Punitive and exemplary damages.
c. Attorneys’ fees and costs of suit.

d. All other relief to which Plaintiff is entitled.

PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY.

Respectfully submitted this 7Z day of December, 2021.

Nb see

JEFFREY A{PLANCHARD

STATE OF ALABAMA
COUNTY OF MOBILE

I, the undersigned Notary Public, in and for said State and County, hereby
certifies that JEFFREY A. PLANCHARD, whose name is signed to the foregoing
Complaint, and who is known to me, acknowledged before me on this date that,

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being informed of the contents of said pleading, executed the same voluntarily on
the day the same bears date.

Given under my hand and seal this XR “/) LW “Poay’

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Of Counsel:

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NOTARY PUBLI€ ~
My Commission Expires: | A bod J

/s/ Christine Hernandez
Christine Hernandez (HER051)
/s/ Deborah A. Mann

Deborah A. Mann (MANO072)
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